                                                                                                           FILED
                                                                                                       March 05, 2025
                            IN THE UNITED STATES DISTRICT COURT
                                                                                                  CLERK, U.S. DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS                                    WESTERN DISTRICT OF TEXAS
                                       L Pa
                                      El   SoO DIVISION
                                          As                                                            By:          DT
                                                                                                                                Deputy
 UNITED STATES OF AMERICA,                                 §
                                                           §                    Case No:              EP:25-CR-00391-KC
            Plaintiff,                                     §     INDIC TMENT
                                                           §
 v.                                                        §     Importation of aControlled Substance
                                                           §
 RICKEY EUGENE TURNER                                      §
                                                           §
            Defendant.                                     §
                                                           §



         THE GRAND JURY CHARGES:

                                                   COUNT ONE

                                                                                                   Defendant,

                                        RICKEY EUGENE TURNER,

knowingly and intentionally imported into the United States from Mexico a controlled substance,

which offense involved 50 grams or more of a mixture or substance containing a detectable amount

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                                       , eSdeu                      ),ed Substance, in violation of Title 21, United States
                                                                  all

Code, Sections 952(a), 960(a)(1) and 960(b)(2)(H).


                                                                 A TRUE BILL.




                                                                 FOREPERSON OF THE GRAND JURY



MARGARET F. LEACHMAN
ACTING UNITED STATES ATTORNEY



BY:
       As

                                                                                                              Rev. 2016-02-16
